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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


JEFFREY ALLEN NEWMAN

                       Movant,


v.                                                   Civil Action No. 3:06-0134
                                                     (Criminal No. 3:04-00083-03)

JEFFREY ALLEN NEWMAN,

                       Respondent.


                         MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable R. Clarke VanDervort, United States Magistrate

Judge, for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and

recommended that the Court dismiss Movant’s Motion to Vacate, Set Aside or Correct Sentence

Pursuant to 28 U.S.C. § 2255 (Doc. #389) and remove this matter from the Court’s docket. Neither

party has filed objections to the Magistrate Judge’s findings and recommendation.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and DISMISSES Movant’s Motion to Vacate, Set Aside or Correct

Sentence Pursuant to 28 U.S.C. § 2255 (Doc. #389) and REMOVES this matter from the Court’s

docket, consistent with the findings and recommendation.
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       The Court DIRECTS the Clerk to forward copies of this written opinion and order to all

counsel of record, and any unrepresented parties.



                                            ENTER:        August 25, 2010




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE




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